Case 1:23-cv-01599-ABJ-ZMF Document 244-4 Filed 05/17/24 Page 1 of 4




                  EXHIBIT 4
     Case 1:23-cv-01599-ABJ-ZMF Document 244-4 Filed 05/17/24 Page 2 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

       v.
                                                    No. 1:23-cv-01599-ABJ-ZMF
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                     Defendants.


BAM MANAGEMENT US HOLDINGS INC.’S AND BAM TRADING SERVICES INC.’S
        NOTICE REGARDING THE COURT’S MAY 10, 2024 ORDER

       Defendants BAM Trading Services Inc. and BAM Management US Holdings Inc.

(collectively, “BAM”) write to provide an update to the Court and Plaintiff Securities and Exchange

Commission (“SEC”) concerning the transactions authorized by the Court’s order, dated May 10,

2024. BAM personnel are continuing to work with personnel of Binance Holdings Limited

(“BHL”) to ensure that the transactions are conducted securely, safely, and consistent with the

terms of the Court’s order. BAM presently expects that those transactions will be complete within

the next week and will notify the Court and SEC upon completion. Consistent with BAM’s May

10, 2024 notice to the Court, BAM will file any documents currently under seal related to the

transactions on the public docket one business day after the transactions are complete.
    Case 1:23-cv-01599-ABJ-ZMF Document 244-4 Filed 05/17/24 Page 3 of 4




Dated: May 15, 2024                               Respectfully submitted,


/s/ Daniel J. Davis                               /s/ George S. Canellos
Daniel J. Davis (D.C. Bar #484717) (pro hac       George S. Canellos (pro hac vice)
vice)                                             Matthew J. Laroche (pro hac vice)
KATTEN MUCHIN ROSENMAN LLP                        MILBANK LLP
1919 Pennsylvania Ave NW                          55 Hudson Yards
Washington DC 20006                               New York, NY 10001
daniel.davis@katten.com                           GCanellos@milbank.com
                                                  MLaroche@milbank.com
Christian T. Kemnitz (pro hac vice)
Levi Giovanetto (D.C. Bar #1001160) (pro hac      Attorneys for Defendants BAM Trading Services
vice)                                             Inc. and BAM Management US Holdings Inc.
David Luger (pro hac vice)
KATTEN MUCHIN ROSENMAN LLP
525 W. Monroe Street
Chicago, IL 60661
christian.kemnitz@katten.com
levi.giovanetto@katten.com
david.luger@katten.com

Gary DeWaal (pro hac vice)
KATTEN MUCHIN ROSENMAN LLP
50 Rockefeller Plaza
New York, NY 10020
gary.dewaal@katten.com

Attorneys for Defendants BAM Trading Services
Inc. and BAM Management US Holdings Inc.




                                                -2-
    Case 1:23-cv-01599-ABJ-ZMF Document 244-4 Filed 05/17/24 Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2024, I filed the foregoing document under seal through

the Court’s ECF system, and caused to be served via email copies of the foregoing document

upon Plaintiff the Securities and Exchange Commission and Defendants Binance Holdings

Limited and Changpeng Zhao.



Dated: May 15, 2024                           /s/ Matthew Laroche
                                               Matthew Laroche




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